           Case 1:20-cv-11253-RWZ Document 71 Filed 09/24/21 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



PARTS iD, LLC, a New Jersey limited liability             Civil Action No. 20-cv-11253-RWZ
company,

Plaintiff,

     v.

IDPARTS LLC, a Massachusetts limited liability
company,

Defendant.

IDPARTS, LLC

Counterclaim Plaintiff,

v.

PARTS iD, LLC and PARTS iD, INC.

Counterclaim Defendants



               JOINT STIPULATED MOTON FOR AN EXTENSION OF TIME
          Plaintiff/Counterclaim Defendant PARTS iD, LLC and Defendant/Counterclaim Plaintiff

IDParts LLC jointly agree and stipulate to the extensions of certain deadlines to permit the

parties to complete party depositions in advance of expert disclosure deadlines. In view of the

upcoming expert disclosure deadlines, the parties jointly request that the Court modify the

schedule through and including the following dates:
             Case 1:20-cv-11253-RWZ Document 71 Filed 09/24/21 Page 2 of 4




                 Event                      Current Date                   Proposed Date
    The party with the burden of
    proof on any claim or defense        September 24, 2021              November 5, 2021
    shall disclose affirmative
    expert reports or statements
    compliant with F.R.C.P.
    26(a)(2)
    A party seeking to rebut an
    expert designated by another          October 25, 2021                 January 6, 2022
    party shall disclose rebuttal
    expert reports complaint with
    F.R.C.P. 26(a)(2)

    Parties to meet and confer
    regarding scheduling of               November 3, 2021                January 20, 2022
    expert depositions
    Reply expert reports
                                         November 24, 2021               February 10, 2022
    Completion of Discovery
    Deadline                             December 14, 2021               February 24, 2022
    Dispositive Motion and
    Daubert Motion Deadline              December 14, 2021               February 24, 2022
    Response1
                                           January 6, 2022                 March 17, 2022
    Reply
                                          January 18, 2022               March 28, 2022
    Final Pretrial Conference             January 27, 2022             April 4, 2022 or at the
                                                                       Court’s convenience
    Trial Date and Length                TBA at Final Pretrial         TBA at Final Pretrial
                                            Conference                      Conference
            The Joint Report on Proposed Scheduling Order (“Scheduling Order”) was filed on

January 26, 2021. (Dkt. 30). On May 7, 2021, the Court granted the Parties’ Joint Stipulated

Motion for Extension of Time to Disclose Expert Reports (“Joint Stipulation”). (Dkt. 62). On

August 5, 2021, the Court granted the Parties’ Joint Motion for Modification to Schedule

adjusting expert discovery in view of the unsuccessful settlement negotiations. (Dkt. 67). Since

the Court’s previous extension, the parties have engaged in discovery efforts, but have not

completed the fact depositions needed to support expert disclosures. It was agreed that the

1
  Should a party file a dispositive motion after the early motion deadline that has already passed,
but prior to this February 24, 2022 deadline, the Court’s Local Rules shall dictate the deadlines
for responses and a reply, if any.


                                                  2
         Case 1:20-cv-11253-RWZ Document 71 Filed 09/24/21 Page 3 of 4




parties should extend the deadline for opening expert reports until approximately two weeks after

the anticipated completion of depositions of the parties’ witnesses. The parties have further

agreed that given the nature of the expert reports that are expected in this matter, additional time

might be needed for rebuttal reports as well. This request is for good cause and not intended to

prejudice or to otherwise delay the proceedings and deadlines in this case.

       The parties therefore respectfully request that the Court enter the proposed order lodged

herewith extending all scheduling deadlines.


  Dated: September 24, 2021                               Respectfully submitted,

  /s/ Aaron P. Bradford                                   /s/ John Strand
  Aaron P. Bradford, Pro Hac Vice                         John Strand
  Mishele Kieffer, Pro Hac Vice                           jstrand@wolfgreenfield.com
  1560 Broadway, Suite 1200                               WOLF, GREENFIELD & SACKS, P.C.
  Denver, CO 80202                                        600 Atlantic Avenue
  abradford@sheridanross.com                              Boston, MA 02210
  mkieffer@sheridanross.com
                                                          Counsel for IDParts LLC
  Attorneys for PARTS iD, LLC

  Daniel J. Cloherty (BBO #565772)
  Christian G. Kiely (BBO #684308)
  TODD & WELD LLP
  One Federal Street, 27th Floor
  Boston, MA 02110
  (617) 720-2626
  dcloherty@toddweld.com
  ckiely@toddweld.com

  Attorneys for PARTS iD, LLC




                                                 3
        Case 1:20-cv-11253-RWZ Document 71 Filed 09/24/21 Page 4 of 4




                              CERTIFICATE OF SERVICE

     I hereby certify that on September 24, 2021 a true and correct copy of the foregoing
SECOND JOINT STIPULATED MOTON FOR AN EXTENSION OF TIME TO
DISCLOSE AFFIRMATIVE EXPERT REPORTS was served via email on the following:

       John Strand
       Amanda B. Slade
       jstrand@wolfgreenfield.com
       aslade@ wolfgreenfield.com
       WOLF, GREENFIELD & SACKS, P.C.
       600 Atlantic Avenue
       Boston, MA 02210

       Counsel for IDParts LLC


                                                 /s/ Vonda Westlake
                                                 Vonda Westlake




                                             4
